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FLNB LF 13-21 (Rev. 12/17)
UNITED STATES BANKRUPTCY COURT

NORTHERN DISTRICT OF FLORIDA

 

In re: Case No.
Arthur Thomas Simpson, Jr. Chapter 13
Check if this is an AMENDED
PLAN [0]
Debtor(s}!
CHAPTER 13 PLAN

PART 1: NOTICES

To Creditors: Your rights may be affected by this plan.

You should read this plan and other documents sent to you carefully and discuss them with your attorney. If you do not have an attorney, you may wish
to consult one. If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to confirmation
prior to the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court. The Bankruptey Court may confirm this
plan without further notice if no objection to confirmation is filed. Crediters who are net individuals (i.e.: corporations, LLC’s, ete.) must have

an attorney in order to have their ebjections considered by the Court. Creditors must file a timely proof of claim in order to be paid under any
plan.

To debtor: You must check one box on each line to state if the plan includes the following items, If an item is checked as “Not included,” or if both
boxes are checked, the provision will be ineffective if set out later in the plan.

 

 

 

 

 

1.1 A limit on the amount of a secured claim, set out in § 3.2, which may result in a partial B] Included
payment or no payment at all to the secured creditor, L_| Net Included

1.2 Debtor intends to avoid a judicial lien or security interest; see § 3.4. [_j Included
Not Included

1.3 Nonstandard provisions, set out in Part &. J Included
EX] Not Included

 

 

 

 

PART 2: PLAN PAYMENTS AND PLAN LENGTH

2.1 Payments to the Trustee: The future earnings or other future income of the debtor are submitted fo the supervision and control of the trustee.

The debtor (or the debtor’s employer) shall pay to the trustee the sum of $1737.19 per month for 60 months. [Add additional language if
necessary]

Total base of plan payments: $104,231.40,

 

Payments shall be mailed to the Chapter 13 Trustee at: Leigh D. Hart, Chapter 13 Trustee, Lock Box 2238, Memphis, TN 38101-2238

Plan Length; The term of the plan is 60 months.

2.2 Tax Refunds: Debtor will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and
will turn over to the trustee all income tax refunds received during the plan term, unless otherwise provided in Part 8.

2.3 Additional Payments (check one):
None

PART 3: TREATMENT OF SECURED CLAIMS

Unless otherwise ordered by the Court, the claim amount(s), including the value of a secured claim, stated on a timely filed proof of claim will control
over any contrary amount listed below. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling.

3.1 Secured Debts Which Will Extend Beyond the Length of the Plan

I None

To be disbursed by the trustee during the plan:

 

! All references to “debtor” shall include both debtors in a joint case.

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Interest Rate
Name Amount of Claim Monthly Payment (if specified)
Mr. Cooper 42,401.41 515.00 7.50%

 

fAdd additional lines, if necessary]
3.2 Secured Debts Which Will Not Extend Beyond the Length of the Plan

(a) Secured Claims Subject to Valuation Under 11 U.S.C. § 506.

ry None

[<] Each of the following secured claims shall be paid through the plan as set forth below, until the secured value, as determined by the
bankruptcy court, or the amount of the claim, whichever is less, has been paid in full. The portion of any allowed claim that exceeds the
amount of the secured claim will be treated as an unsecured claim. The debtor must file a proper motion or notice if any secured claim is to
be paid less than the amount shown on a timely filed proof of claim.

Any remaining portion of the allowed claim shall be treated as a general unsecured claim.

 

Interest Rate
Name Amount of Secured Claim (if specified)
Community South Cu 3,652.00 5.25%

 

 

[Add additional lines, if necessary}
(b) Secured Claims Not Subject to Valuation Under 11 U.S.C. § 506.
i None
Each of the following secured claims shall be paid through the plan as set forth below until the amount of the claim has been paid in full.

Interest Rate

Name Amount of Secured Claim {if specified)
Community South Cu 8,300.00 5.25%

 

 

{Add additional lines, if necessary]
(c) Determination of Secured Status and Strip Lien (11 U.S.C § 506),

None

3.3 Prepetition Defaults

CI None

[X] Prepetition defaults owed to the following creditor(s) will be cured over the plan term, and payment of arrearages under this plan shall
conclusively constitute payment of all pre-petition arrearages:

Interest Rate

Name Amount of Default Cured (if specified)
Mr. Cooper 6,697.00 0.00%

 

[Add additional lines, if necessary]

3,4 Motions to Avoid Lien

EX] None

3.5 Direct Payments to Creditors:

FE] None

The debtor shall make regular payments directly to the following creditors:

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Monthly Interest Rate

Name Amount of Claim Payment (if specified)
Kenneth Henry Green aka 26,668.00 833.00 0.00%

 

[Add additional lines, if necessary]

Upon entry of the Order Confirming Plan, the automatic stay shall be terminated as to the i rem rights of the creditors whose secured
claims are being paid direct by the debtor in § 3.5, above.

3.6 Property to be Surrendered

XX None

PART 4: TREATMENT OF TRUSTEE’S FEES, ATTORNEYS’ FEES
AND OTHER PRIORITY CLAIMS, INCLUDING DOMESTIC SUPPORT OBLIGATIONS

Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.4(c), will be paid in full without
post-petition interest.

4.1 Trustee’s Fee: Trustee’s fees are governed by statute and will be paid through the plan. Trustee’s fees may change during the course of the case.
4.2 Attorney’s Fee (unpaid portion): $__ 0.00 (fees) $__0.00 (costs)
Pursuant to 11 U.S.C. § 521(4)(4)(B) and Standing Order(s) of this Court, the debtor shall file all required annual statements. Debtor’s attorney
may seek additional fees for filing required annual statements; if the plan is modified due to an increase in income shown on an annual statement,

the debtor’s attomey may seek additional fees for the plan modification. No advanced notice or opportunity to object to these fee applications will
be given.

4.3 Filing Fee (unpaid portion): Any unpaid portion of the filing fee will be paid in accordance with the order granting the debtor’s application to pay
the filing fee in installments.

4.4 Domestic Support Obligations

& Debtor has no Domestic Support Obligations

 

 

 

4,5 Other Priority Claims
[_] None
Interest Rate
Name Amount of Claim (if specified)
Florida Department of Revenue 0.00 0.00%
internal Revenue Centralized Insolvency 3,000.00 4.00%

 

 

[Add additional lines, if necessary]

PART 5: TREATMENT OF NONPRIORITY UNSECURED CLAIMS

5.1 General Nonpriority Unsecured Claims
Allowed nonpriority unsecured claims that are not separately classified in Part 5.2 will be paid, pro rata. If more than one option is checked, the
option providing the largest payment will be effective.

Check all that apply
C4 Atotal of $___.
CF % of the total amount of these claims, an estimated payment of $ .
Dx Funds remaining after disbursements have been made to all other creditors provided for in this plan. Allowed nonpriority unsecured

claims shall be paid interest to the extent available, not to exceed 6%, unless otherwise provided in Part 8.
5.2 Separately Classified Nonpriority Unsecured Claims

None

PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES

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The executory contracts and unexpired leases listed below are assumed. All other executory contracts and unexpired leases are rejected.
Check one.

None

PART 7: STANDARD PLAN PROVISIONS

7.1 Title to the debtor’s property shall re-vest in debtor on confirmation of a plan or dismissal of the case, unless otherwise provided in Part 8, provided
that proceeds from any potential or pending cause of action or other asset not yet liquidated, are property of the Estate and must be paid to the
Chapter 13 Trustee pending further order of the Court.

7.2 Except as provided above, allowed secured claim holders shall retain liens until liens are released or upon completion of all payments under this
Plan.

7.3 Secured creditors and lessors to be paid directly by the debtor and/or co-debtors may continue to mail to debtor the customary monthly notices or
coupons notwithstanding the automatic stay.

PART 8: NONSTANDARD PLAN PROVISIONS

None

PART 9: SIGNATURES OF DEBTOR AND DEBTOR’S ATTORNEY

If the debtor does not have an attorney, the debtor must sign below; otherwise, the debtor’s signature is optional. The attorney for the debtor, if

any, Thee ee é . b.
isi Arthur Thomas Simpson, Jr. X
Arthur Thomas Simpson, Jr. Signature of Debtor 2

Signature of Debtor |

 

    
 

     
 

aires gL ae Date July 23, 2018
Signature of Attorney for Debtor

Charles M. Wynn 0241695

0241695 FL

P.O. Box 146

Marianna, FL 32447-0147

(850) 526-3520

court@wynnlaw-fl.com

  

 

 

By filing this document, the debtor, if not represented by an attorney, or the attorney for the debtor, certifies that the wording and order of the
provisions in this Chapter 13 Plan are identical to those contained in the Official Form adopted by this Court effective on the date of signing,
other than any nonstandard provisions included in Part 8. (www.flnb.uscourts.gow/sites/default/files/forms/If13_21.pdf)

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